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                                                                                 FILED
                                                                       CLERK, U.S. DISTRICT COURT


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 14                         UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 15
 16
      LORA SLETTEN,                          ) Case No. 2:20-cv-04979-MAA
 17                                          )
 18   Plaintiff,                             )
                                             ) xxxxxxxxxxx
                                               [PROPOSED]
 19
            v.                               ) JUDGMENT OF REMAND
 20                                          )
 21   ANDREW SAUL,                           )
      Commissioner of Social Security,       )
 22                                          )
 23   Defendant.                             )
                                             )
 24
 25         The Court having approved the parties’ Stipulation to Voluntary Remand
 26   Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment for
 27
      Plaintiff (“Stipulation to Remand”), IT IS HEREBY ORDERED, ADJUDGED
 28

      Judgment for Remand, Sentence Four


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  1   AND DECREED that the above-captioned action is remanded to the
  2
      Commissioner of Social Security for further proceedings consistent with the
  3
  4   Stipulation to Remand.
  5
  6
  7
      Dated: 04/26/21
  8                                        HON.
                                             N. M
                                                MARIA
                                                 ARIA A. AUDERO
                                           UNITED STATES MAGISTRATE JUDGE
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      Judgment for Remand, Sentence Four


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